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                          UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TEXAS
                                 TYLER DIVISION


  VIAHART, LLC

         Plaintiff,                            Civil Action No. 6:18-cv-00604

  v.                                           Judge: Hon. Robert W. Schroeder, III

  DOES 1-54                                    Magistrate: Hon. K. Nicole Mitchell

         Defendants




                            Notice of Voluntary Dismissal


        Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiff

  Viahart, LLC (“Viahart”) voluntarily dismisses, with prejudice, its claims against the

  following defendants:



        •   DOE 12: Valeriy Shershnyov, (Amazon Merchant ID A18VWAUVNOAE1),
            alteroxity@gmail.com

        •   DOE 29: Vinvin Zhu,       (AliExpress   Merchant   ID   A3IOKUU6GOY6GO),
            zhuqunyun153@126.com

        •   DOE 55: Liu Juan, (Amazon Merchant ID AB7DGX0ESP337), funey@foxmail.com
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  Dated: August 10, 2020                        Respectfully Submitted,

                                                CREEDON PLLC

                                                By: /s/ Charles A. Wallace
                                                James H. Creedon
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                                                Charles A. Wallace
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                                                ATTORNEYS FOR PLAINTIFF
                                                VIAHART, LLC




                            CERTIFICATE OF SERVICE


         I certify that on August 10, 2020, I caused a true and correct copy of the
  foregoing to be filed on the Court’s CM/ECF system, which served notice on all counsel
  of record.

                                                /s/ Charles A. Wallace
                                                Charles A. Wallace




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